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U.S. DISTRICT COURT
EASTERN DISTRICT ARKANSAS

IN THE UNITED STATES DISTRICT COURT MAY 06 2019
EASTERN DISTRICT OF ARKANSAS

   
 

   
 

JAMES W. M RM.
JONESBORO DIVISION By: Yl. oo

JERRY SMITH, §
(SPN # 29176-001), 8 |

Petitioner, ; Bs /Fasev-00051 don ts
VS. § Civil No. :19-cv-_

§ Crim No. 3:11-cr-00283-SLB-HGD-1

DEWAYNE HENDRIX, Warden, §
FCI Forrest City Low, §

Respondent. §

MEMORANDUM OF LAW IN SUPPORT OF APPLICATION
FOR WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

COMES Petitioner, JERRY SMITH (‘Smith’), appearing pro se, and in

support of this memorandum would show as follows:
I. STATEMENT OF JURISDICTION

Jurisdiction is vested in this Court pursuant to 28 U.S.C. § 2241, which confers
Jurisdiction on district courts to issue writs of habeas corpus in response to a petition
from a state or federal prisoner who “is in custody in violation of the Constitution or
laws or treaties of the United States.” 28 USC. 2241(a) and (c)(3). A petition for
habeas corpus under 28 U.S.C. § 2241 must be filed in the district of confinement.
A federal prisoner may also challenge the legality of his detention under § 2241 if he
falls within the “savings clause” of § 2255(e). See Poor Thunder vy. United States. 810

F.2d 817, 822-23 (8" Cir.1987).
 

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Il. STATEMENT OF THE GROUND FOR REVIEW

Whether, Smith’s Conviction is Unconstitutional Because He is Actually

 

Innocent.

I. STATEMENT OF THE CASE

A. Procedural Background

On July 26, 2011, a grand jury sitting in the United States District Court for the
Northern District of Alabama, Northwestern Division, returned a six (6) count
Indictment charging Smith. See Doc. 1.' Counts 1-6 charged Smith with
Transportation of a Minor in Interstate Commerce for Purpose of Engaging in Illicit
Sexual Conduct, in violation of 18 U.S.C. § 2423(a). Id.

On October 5, 2011, a Change of Plea Hearing was held and Smith entered a
guilty plea as to Counts 2, 3, and 4 of the Indictment, pursuant to a written Plea
Agreement. See Doc. 21.

On March 22, 2012, Smith was sentenced to a total term of 120 months’
Imprisonment, 10 years Supervised Release, no Fine or Restitution, and a Mandatory

Special Assessment Fee of $300. See Doc. 29.

 

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“Doc.” refers to the Docket Report in the United States District Court for the Northern
District of Alabama, Northwestern Division in Criminal No. 4:14-cr-00124-SWW-1, which is
followed by the Docket Entry Number. “CvDoc.” refers to the Docket Report in the United States
District Court for the Northern District of Alabama, Northwestern Division in Civil No.
3:13-cv-08002-SLB, which is followed by the Docket Entry Number. “PSR” refers to the
Presentence Report in this case, which is immediately followed by the paragraph (“{’) number.

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On February 7, 2013, Smith filed a Motion under 28 U.S.C. § 2255 to Vacate,
Set Aside or Correct Sentence by a Person in Federal Custody (“§ 2255 Motion”). See

CvDoc. 1.

On December 23, 2014, the Court issued an Order denying Smith’s § 2255

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Motion. See CvDoc. 26.
B. Statement of the Facts
1. Offense Conduct

Smith, through the advise of his attorney, agreed to the following factual basis

for the plea:

The victim in this case is C.P.A., DOB XX/XX/1995, residing in Red
Bay, Alabama, which is in Franklin County. C.P.A. has known Jerry
Smith her entire life, since he was friends with her birth father. Smith
lives less than amile from C.P.A.’s house. C.P.A. has dated his eighteen
year old son in the past. Smith was employed as a long haul truck driver
at the time of these crimes. Smith’s DOB is XX/XX/1970.

In December 2010, C.P.A. accompanied Smith on a work-related trip to
Texas. Smith asked C.P.A.’s mother if she objected. C.P.A.’s mother did
not object since Smith promised her he would treat C.P.A. as he would
his own child and that they could “trust him.” The trip to Texas, was
three days and according to C.P.A. was uneventful. C.P.A. and Smith
both slept in the sleeper compartment of the truck but under separate
blankets.

Shortly after this trip, Smith and C.P.A. began texting each other. The
texts became very frequent and were sexual in nature. C.P.A. believed
the texts were sent by Smith in an attempt to determine whether or not
C.P.A. would have sex with him.

 

 
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On January 17, 2011, C.P.A. accompanied Smith on a trip to Indiana.
On the way there, C.P.A. asked Smith to stop at a rest stop outside of
Nashville, Tennessee, so that she could use the rest room. It was at this
rest stop that they had sex in his truck. After the trip resumed, they
stopped at another rest stop in Tennessee, just before the Kentucky state
line. They had sex again during this stop. They did not stop in Kentucky
but stopped in Indiana, just prior to arrival at their destination in
Indianapolis. They had sex for a third time at this location. After driving °
back to Alabama, Smith dropped C.P.A. off at her home at midnight.
Smith did not buy condoms during this trip because he already had some
in the truck, however, he did use condoms during the above-described
Sex acts.

The age of consent in Indiana is 16. The age of consent in Tennessee 1s
18.

 

See Doc. 21 at 2-4.
2. Plea Proceeding

On October 5, 2011, a Change of Plea Hearing was held before Chief Judge
Sharon Lovelace Blackburn. Smith entered a guilty plea as to Counts 2, 3, and 4 of
the Indictment, pursuant to a written Plea Agreement. See Doc. 21. In exchange for
Smith’s guilty plea, the government agreed to: (1) move to dismiss Counts 1, 5, and
6 at the time of sentencing; (2) recommend that Smith receive an appropriate
reduction for acceptance of responsibility; (3) and that Smith be sentenced for a term
consistent with the low end of the advisory guideline range. /d. at 4. The case was

referred to the Probation Office for the preparation of the PSR.

 

 
 

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3. Presentence Report Calculations and Recommendations

The November 1, 2011 edition of the Guidelines Manual was used in this case,
pursuant to USSG § 1B1.11. See PSR ¢ 19. The PSR grouped Smith’s offenses as
follows: Group 1 - Count 2; Group 2 - Count 3; and Group 3 - Count 4. On each
group, the PSR recommended a Base Offense Level 28, pursuant to USSG §
2G1.3(a)(3). See PSR fff 21, 29, 37. Two (2) level were added because the minor was
otherwise in the custody, care, or, supervisory control of Smith, pursuant to USSG §
2G1.3(b)(1)(A). See PSR YJ 22, 30, 38. Two (2) levels were added because Smith
unduly influenced the minor to engage in prohibited sexual conduct, pursuant to
USSG § 2G1.3(b)(2)(B). See PSR 4 23, 31, 39. Another two (2) levels were added
because the offense involved the commission of a sex act, pursuant to USSG §
2G1.3(b)(4)(A). See PSR FJ 24, 32, 40. The Adjusted Offense Level was computed
to be level 34, plus a three (3) level increase for the total number units corresponding
to Groups 1-3, which totalled to a Combined Adjusted Offense Level of 37, pursuant
to USSG § 3D1.4. See PSR 9 44-51. However, Smith received a 5-level
enhancement, pursuant to USSG § 4B1.5(b) (Repeat and Dangerous Sex Offender
Against Minors), establishing a Total Enhanced Offense Level of 42. See PSR {52-

53. Smith received a three (3) level reduction for acceptance of responsibility,

pursuant to USSG §§ 3E1.1(a) and (b). See PSR ff 54-55. The PSR calculated Smith
 

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Total Offense Level to be level 39. See PSR 56. Smith’s criminal history points 1s
0, placing him in Criminal History Category I. See PSR § 59. Based on a Total
Offense Level of 39 and a Criminal History Category of I, the guideline range for
imprisonment is 262 to 327 months. See PSR ¥ 83.

Counsel has objected to the PSR, and submits the accurate Offense Level is 29.
This would yield a sentencing range of 87 - 108 months. Further, counsel moved the
Court to impose a significant sentence of 120 months of incarceration to be followed
by a lifetime term of sexual offender registration, in that such a sentence will be
sufficient but not greater than necessary to accomplish the purposes of sentencing.
See Doc. 25.

4. Sentencing Proceeding

On April 6, 2012, a Sentencing Hearing was held before Chief Judge Sharon
Lovelace Blackburn. At sentencing, Smith raised his Objections to the PSR as
follows: (1) Counts 2 and 4 should be grouped - sustained; (2) 2-point enhancement
for the minor being otherwise in custody of supervisory control of Smith - overruled;
(3) 2-point enhancement for unduly influencing a minor to engage in prohibited

sexual conduct - sustained; and (4) 5-level enhancement under USSG § 4B1.5(b) -

sustained, that gives an Adjusted Offense Level of 32. See Doc. 31. Smith received

a 3-level reduction for acceptance of responsibility, bringing Smith’s Total Offense

 
 

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Level to 29, in Criminal History Category I, yielding a guideline imprisonment range
of 87 to 108 months. However, the statutory minimum for the crimes that Smith pled
guilty to is 120 months. /d. at 18. Having ruled on objections, the Court adopted the
factual statement contained in the PSR and sentenced Smith to amandatory minimum
sentence of 120 months. No direct appeal was filed in this case.
5. Postconviction Proceeding

On February 7, 2013, Smith filed a § 2255 Motion [CvDoc. 1] and submitted
an Amended Memorandum supporting the Motion on January 1, 2014, alleging that
counsel was ineffective for three reasons: (1) for failing to appeal petitioner’s case
after being requested to do so by petitioner; (2) for coercing petitioner into pleading
guilty to a crime he did not commit; and (3) for refusing to seek a withdrawal of
petitioner’s guilty plea [CvDoc. 6 at 2-4]. Smith also argued that the victim’s
recantation in an affidavit, attached as an exhibit to petitioner’s Amended
Memorandum, proved that the victim’s previous testimony regarding petitioner’s
criminal conduct was false, and thus, placed petitioner’s conviction into question. Jd.
at 5-6, 9. However, the Court opined that the victim’s recantation testimony was not

credible, therefore, Smith’s § 2255 Motion was denied (as to all claims) on December

23, 2014. See CvDocs. 25, 26.
 

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IV. COGNIZABLE CLAIMS IN A PETITION FOR
WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

A federal prisoner may attack the validity of his conviction in a § 2241 petition
if he can meet the requirements of § 2255(e)’s savings clause. See U.S. v. Lurie, 207
F.3d 1075 (8" Cir. 1999). The prisoner bears the burden of showing that the remedy
under § 2255 would be “inadequate or ineffective to test the legality of his detention.”
§ 2255(e); Crawford v. Minnesota, 698 F.3d 1086 (8" Cir. 2012). A petitioner’s
inability to meet the procedural requirements of § 2255 is insufficient to meet this
burden. See Abdullah v. Hedrick, 392 F.3d 957, 959 (8" Cir.2004). Rather, a prisoner
who wishes to proceed under the savings clause must establish that his claim “is
based on aretroactively applicable Supreme Court decision which establishes that the
petitioner may have been convicted of anonexistent offense” and that the claim “was
foreclosed by circuit law at the time when the claim should have been raised.”
Reyes-Requena v. United States, 243 F.3d 893, 904 (5" Cir. 2001). A petition for
habeas corpus under 28 U.S.C. § 2241 must be filed in the district of confinement.
See McQuiggin v. Perkins, 133 S.Ct. 1924 (2013). This Court has jurisdiction to hear
a habeas corpus petition under 28 U.S.C. § 2241 because it is the closest U. S. District

Court to where Smith is incarcerated.
 

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Smith is unable to return to an Alabama forum for relief based on the evidence
in this second federal application. The Alabama Court has ruled that Smith’s evidence
of innocence based on the victim’s affidavit dated September 27, 2013 (recantation |
testimony). As the court finds that the victim’s recantation testimony not credible,
Smith’s § 2255 Motion was denied on December 23, 2014. See CvDoc. 26. However,
there is no question that Smith’s proof meets the threshold or “gateway” that the
Supreme Court established in Schlup v. Delo, 513 U.S. 298 (1995).

In Schlup, the Court held that prisoners asserting innocence as a gateway to
defaulted claims must establish that, in light of new evidence, “it is more likely than
not that no reasonable juror would have found petitioner guilty beyond a reasonable
doubt.” House v. Bell, 547 U.S. 518 (2006) (citing 513 U.S. at 327). This formulation
“ensures that petitioner’s case is truly ‘extraordinary’, while still providing petitioner
a meaningful avenue by which to avoid a manifest injustice.” Jd. (quoting McCleskey
v. Zant, 499 U.S. 467, 494 (1991)). A petition supported by a convincing Schlup
gateway showing “raise[s] sufficient doubt about [the petitioner’s] guilt to undermine
confidence in the result of the trial without the assurance that that trial was untainted

by constitutional error’; hence, “a review of the merits of the constitutional claims”

is justified. Zd. (quoting, Schlup, 513 U.S., at 317).
 

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In determining whether a Petitioner has passed through Schlup’s gateway, the
court may consider “new reliable evidence-whether it be exculpatory scientific
evidence, trustworthy eyewitness accounts, or critical physical evidence-that was not
presented at trial,” id., at 324. However, the habeas court’s analysis is not limited to
such evidence. Schlup makes plain that the habeas court must consider “ ‘all the
evidence,’ ” old and new, incriminating and exculpatory, without regard to whether
it would necessarily be admitted under “rules of admissibility that would govern at
trial.” See id., at 327-328, 115 S.Ct. 851 (quoting Friendly, Is Innocence Irrelevant?
Collateral Attack on Criminal Judgments, 38 U. Chi. L.Rev. 142, 160 (1970)). Based
on this total record, the court must make “a probabilistic determination about what
reasonable, properly instructed jurors would do.” 513 U.S., at 329.

While “the court’s function is not to make an independent factual determination
about what likely occurred, but rather to assess the likely impact of the evidence on
reasonable jurors,” id., the gateway actual-innocence standard is not equivalent to the
standard of Jackson v. Virginia, 443 U.S. 307 (1979), which governs claims of
insufficient evidence. House, 547 US. at 519. When confronted with a challenge
based on trial evidence, courts presume the jury resolved evidentiary disputes

reasonably so long as sufficient evidence supports the verdict. Because a Schlup

claim involves evidence the trial jury did not have before it, the inquiry requires the

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federal court to assess how reasonable jurors would react to the overall, newly
supplemented record. See id. If new evidence so requires, this may include
consideration of “the credibility of the witnesses presented at trial.” /d.; see also ibid.
(noting that “{i]n such a case, the habeas court may have to make some credibility

assessments”).
V. DISCUSSION

Asa preliminary matter, Smith respectfully requests that the Court be mindful
that “a pro se complaint should be given liberal construction, we mean that if the
essence of an allegation is discernible ... then the district court should construe the
complaint in a way that permits the layperson’s claim to be considered within the
proper legal framework.” See Solomon v. Petray, 795 F.3d 777, 787 (8" Cir. 2015);
Estelle v. Gamble, 429 U.S. 97, 106 (1976) (same); and Haines v. Kerner, 404 U.S.
519, 520 (1972) (same).

Smith’s Conviction is Unconstitutional Because He is Actually
Innocent.

The evidence that Smith would present to meet Schlup’s gateway 1S truly
extraordinary, consisting of letters from Dallas Thorn, Deborah Wooten, Danielle M.
Jones, Polly McLees, and Trisha Johnson, all expressing the same thought that the
Victim—C.P.A. is sorry for all the lies she told about Jerry Smith. The factual basis of

their statements is uncontestable, and coherent with each other’s statement.

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Under Schlup this Court cannot review the evidence in a light most favorable
to the verdict (guilty plea). It must reassess the probative value of the government’s
already “weak and tentative” evidence in comparison to the confession proof that
C.P.A. told numerous people. The government’s case, when exposed to this evidence
under an evenhanded light, simply melts away.

Close review of the decision in Herrera v. Collins, 506 U.S. 39 (1993),
demonstrates that a majority of the Court found that the execution of an innocent man
violates the constitution. Jd. at 419 (O’Connor, J., joined by Kennedy, J., concurring)
(“executing the innocent is inconsistent with the Constitution”); Jd. (O’Connor, J.,
joined by Kennedy, J., concurring) (“the execution of a legally and factually innocent
person would be a constitutionally intolerable event.”); Jd. at 429 (White, J.,
concurring) (“I assume that a persuasive showing of ‘actual innocence’ made after
trial, even though made after the expiration of the time provided by law for the
presentation of newly discovered evidence, would render unconstitutional the
execution of petitioner in this case.”); Jd. at 430 (Blackmun, J., joined by JJ. Stevens |
and Souter, dissenting) (“Nothing could be more contrary to contemporary standards
of decency ... than to execute a person who is actually innocent.”). Even Chief

Justice Rehnquist left open whether in a capital case a truly persuasive demonstration

of “actual innocence” made after trial would render the execution of a defendant

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unconstitutional, and warrant federal habeas relief if there were no state avenue open
to process such a claim,” 506 U.S. at 417, although “the threshold showing for such
an assumed right would necessarily be extraordinarily high.” Jd.

The Ninth Circuit, along with many of its sister circuits, have held that a §
2241 petition is available under the “escape hatch” of § 2255 when a petitioner (1)
makes a claim of actual innocence, and (2) has not had an “unobstructed procedural
shot” at presenting that claim. Ivy, 328 F.3d at 1060; see also Abdullah v. Hedrick,
392 F.3d 957, 960 (8" Cir.2004); Reyes-Requena v. United States, 243 F.3d 893, 903
(5" Cir.2001); In re Jones, 226 F.3d 328, 333-34 (4 Cir.2000); Wofford v. Scott,
177 F.3d 1236, 1244 & n. 3 (11" Cir.1999); In re Davenport, 147 F.3d 605, 609-11
(7" Cir.1998); Triestman v. United States, 124 F.3d 361, 363 (2d Cir.1997); In re
Dorsainvil, 119 F.3d 245, 251 (3d Cir.1997). These circuits consider these two
requirements in reverse order.

The factual basis of Smith’s actual innocence claim was unavailable until the
recent confession of C.P.A. to friends in Red Bay. Throughout post-conviction
proceedings, Smith diligently attempted to develop evidence demonstrating his actual
innocence. The Eighth Circuit’s position is that the new evidence claimed by the
petitioner must not have been available at trial and “could not have been discovered
earlier through the exercise of due diligence.” Osborne v. Purkett, 411 F.3d 911,920

(8 Cir. 2005) (citing Amrine v. Bowersox, 238 F.3d 1023, 1029 (8 Cir. 2001)).

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C.P.A. Recantation in 2013
Here, we must determine whether Smith has carried his burden of proving, by
clear and convincing evidence, that the victim’s recantation of her testimony 1s

“material” and, thus, renders Smith’s case so tenuous that, had the recantation been

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produced at trial, “no rational trier of fact could have found proof of guilt beyond a
reasonable doubt.”

In Smith’s initial § 2255 Motion, he argued that CPAs recantation in an
affidavit, proved that the victim’s previous testimony regarding petitioner’s criminal
conduct was false, and thus, placed petitioner’s conviction into question. However,
the Court’s opinion reads:

“While the victim did recant her initial testimony, she subsequently met
with FBI Agent Patrick Stokes in person on February 27, 2014 and gave
statements in an affidavit that her cousin offered her marijuana and
pressured her to make the false recantation. (Doc. 14-2 at 2-3.)
Specifically, she stated that her cousin dictated the affidavit and that the
statements she wrote on September 27, 2013 are “completely false.”
(/d.) The victim even attempted to get the September 2013 affidavit
back, but her cousin claimed not to know its location. (/d. at 3.) Not only
is the February 2014 affidavit persuasive, but the inculpatory nature of
the text messages sent between petitioner and the victim make it highly
unlikely that the victim’s recantation is truthful.

As the court finds that the victim’s recantation testimony 1s not credible,
this claim is due to be denied.”

See CvDoc. 25 at 15-16.

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Accordingly, where a witness’ recantation is used to collaterally attack a

 

conviction, “[t]here must be clear and convincing proof that the witness testified
falsely at the trial, and not merely proof that by reason of conflicting statements his
testimony is unworthy of belief.” Lewis, 193 Va. at 626, 70 S.E.2d at 302 (emphasis
added). The controlling inquiry, then, is not merely whether the recantation was true,
but whether, considering the recantation in light of all the other evidence, the
conviction was predicated upon perjured testimony. See Ortega v. Duncan, 333 F.3d
102, 104, 107 Qd Cir.2003).

To prove the materiality of the recantation, a petitioner must establish either:
(1) that the recantation is true, or (2) if the recantation is not true, that the witness’
lack of credibility, when considered along with all the evidence in the case,
establishes that the trial testimony was perjured. /d.; see also, Powell v.
Commonwealth, 133 Va. 741, 756, 112 S.E. 657, 661 (1922) (holding that, where a
witness recants her trial testimony, a new trial is warranted only if “the court has
evidence before it which establishes the perjury or mistake, in such a clear and
convincing manner as to leave no room for doubt”). Where the evidence merely
proves that the witness made conflicting statements and, therefore, “spoke falsely on

one occasion,” the recantation is insufficient to justify post-conviction relief because

it does not, standing alone, “establish that his testimony at the trial was false and the

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statements in the subsequent affidavit were true.” Lewis, 193 Va. at 626, 70 S.E.2d
at 302 (emphasis added).

Thus, for C.P.A.’s recantation to be deemed “material,” such that it “would”
produce a different result in another trial, Smith must prove, by clear and convincing
evidence, that C.P.A. perjured herself at trial. See Lewis, 193 Va. at 626, 70 S.E.2d
at 302 (“There must be clear and convincing proof that the witness testified falsely
at the trial”). Smith may carry his burden of proof either by establishing that the
recantation is true, see, e.g., State v. Eder, 78 Wash.App. 352, 899 P.2d 810, 811
(1995) (“We hold that recantation testimony, in the form of newly discovered
evidence, warrants [post-conviction relief] only if it is material; [and] it is material
only if it is true”), or by establishing that C.P.A.’s lack of credibility, when
considered along with all of the other evidence in the case, demonstrates that her trial
testimony was perjured.

Hence, there was no trial held in this case because Smith’s counsel persuaded
him that it is best to plead guilty instead of receiving a possible life sentence should
he opt to proceed to trial.

Fact: Amanda Deaton, a/k/a Amanda Braziell, (“Deaton”) told C.P.A. to say
and accuse Smith because he would not date her mother. Amanda said if she could

not get him [Smith], no one would, and that she was going to see to it that no one

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could have him. C.P.A. confessed that Deaton was afraid Smith would tell her
husband and she would lose everything (this is after Deaton approached Smith and
he turned her down). C.P.A. stated that her mother depended on her so they would not
lose anything, especially her son. See Exhibit 2.

Now, five (5) years after claiming that she was pressured by Ann Castro to
write the recantation affidavit, C.P.A. is still thinking about Smith’s case and how her
lies got him a 120-month sentence. Numerous people (at least 5) have heard C.P.A.
talk about her mother, Amanda Deaton (“Deaton”), who made her lie on Smith,
making her upset and sorry that she put an innocent man in prison.See Exhibit 1.

Several years later the child, for various reasons, recants and now says that
Smith did not have sex with her at any time. Her position now is that she was
pressured by her mother into making the allegation.

Note: “Conscience,” the sense or consciousness of the moral goodness or
blameworthiness of one’s own conduct, intentions, or character together with a
feeling of obligation to do right or be good.

In this case, C.P.A. has been confessing and confiding her wrongful act of
lying on Smith. Her moral sense— acting as a guide, wanting her to right the mistakes

she had done on Smith.

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A confession is evidence that must be considered, therefore, Smith’s case
should be remanded for resentencing as he is innocent.

How is the judicial system supposed to sort this out? Only two hearts and
minds will ever know the absolute truth in this scenario and even that may be
dubious. If the truth lies in the human heart, rather than a Petri dish or DNA test
result, do we simply declare that the judicial system is incapable or unwilling to
address the matter? Because the original trial is, quite appropriately, “the main event,”
should we forbid any reprise, regardless of the persuasiveness of proof? Is there never
a second act to a fundamentally fair first trial when counsel screwed up by advising
defendant to plead guilty? It is the purported crime victim who has created the
problem by now claiming that she really was not a victim at all. If the original trial
afforded all of the required procedural protections, and if the institutional players the
prosecutor, the defense attorney, the judge, the jury lived up to their legal, moral, and
ethical obligations, the criminal justice system should not wash its hands of this
dilemma and say, “Bad luck, it’s not our fault. Take your problems elsewhere”?

Instead, this Court should attempt to thread the eye of the needle by making a
habeas applicant’s free-standing claim of actual innocence cognizable, but only if it
is supported by newly discovered evidence that “unquestionably establishes his

innocence.”

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This approach has worked remarkably well when the trial court finds the
post-trial recantation not credible and recommends the denial of habeas relief. This
Court routinely follows the trial court’s factual findings, legal conclusions, and
recommendation. Those cases are speedily disposed of with per curiam orders. This
approach has not worked so well in those few instances where the trial judge finds
that the recantation is credible, the newly discovered evidence unquestionably
establishes the inmate’s innocence, and he recommends granting relief.

The legal question, which we must review de novo, is different: does this
evidence, viewed in the light most favorable to the trial court’s factual findings and
credibility determinations, actually demonstrate that the person is “unquestionably
innocent” of the crime? In answering this question, we should consider the trial
court’s conclusions of law as well as his recommendation, if any, concerning the
grant or denial of habeas relief, but it is nonetheless a legal conclusion that this Court,
as the final decisionmaker in habeas applications, must make.

First, then, what legal meaning does the phrase “unquestionably innocent”
have? In Elizondo, we explained that we borrowed this phrase from the Supreme
Court’s discussion in Herrera and Schlup. In fact, that phrase is a shorthand rendition
of the Supreme Court’s discussion of the distinction between a bare claim of

innocence and a claim of innocence coupled with one of constitutional error. The

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pertinent sentence from Schlup is: “[i]f there were no question about the fairness of
the criminal trial, a Herrera-type claim would have to fail unless the federal habeas
court is itself convinced that those new facts unquestionably establish [the
applicant’s] innocence. In Elizondo, the Court explained that the phrase
“unquestionably establishes” means “clear and convincing” proof. That is, under
Schlup, the federal district court judge hearing the habeas application must be
convinced that the new evidence does, by itself, unquestionably establish, that is,
prove by clear and convincing evidence, the applicant’s innocence.
V. CONCLUSION

For the above and foregoing reasons, Smith’s sentence should be vacated for
resentencing. In the alternative, an evidentiary hearing should be held so that Smith
may further prove his meritorious ground for relief, resolve any disputed facts, and

expand an incomplete record.

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Respectfully submitted,

 

Dated: April 3, 2019. Vlonacye sAonnit _
JERRY SMITH

REG. NO. 29176-001

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FORREST CITY, AR 72336
Appearing Pro Se

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EXHIBIT 1:
“LETTERS”

 

 
 

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EXHIBIT 2:
“Affidavit of Trisha Johnson”
 

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